Case: 1:15-cv-10403 Document #: 38 Filed: 05/24/16 Page 1 of 2 PageID #:146




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

 McAFEE ENTERPRISES, INC.

                            Plaintiff,
        vs.                                         Case No.: 15-cv-10403

 CHERUB TECHNOLOGY INC.                             Judge Matthew F. Kennelly

                            Defendant.


                                STIPULATED DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff McAfee Enterprises, Inc. and

Defendant Cherub Technology Inc. hereby stipulate to the dismissal of this action, in its

entirety, with prejudice, with each party to bear its own costs and fees.


Dated: May 24, 2016                       Respectfully submitted,

                                           /s/ Anthony E. Dowell
                                          Anthony E. Dowell
                                          DOWELL IP
                                          333 W. North Ave #341
                                          Chicago, Illinois 60610
                                          Phone: (312) 291-8351

                                          ATTORNEY FOR PLAINTIFF
                                          McAFEE ENTERPRISES, INC.




                                           -1/2-
Case: 1:15-cv-10403 Document #: 38 Filed: 05/24/16 Page 2 of 2 PageID #:147




                                  /s/ Sherry X. Wu
                                  Sherry X. Wu
                                  ANOVA LAW GROUP, PLLC
                                  21351 Gentry Drive, Suite 150
                                  Sterling, Virginia 20166
                                  Phone: (571)379-9468

                                  ATTORNEY FOR DEFENDANT
                                  CHERUB TECHNOLOGY INC.




                                  -2/2-
